                                          Northern District Of Ohio
                                    455 John F. Seiberling Federal Building
                                                US Courthouse
                                             2 South Main Street
                                              Akron, OH 44308
                                               Case No. 19−50639−amk

In re: (Name of Debtor)
   Benjamen J. Barczak                                       Tina M. Barczak
   147 Deerfield Lane                                        147 Deerfield Lane
   Aurora, OH 44202                                          Aurora, OH 44202
Social Security No.:
   xxx−xx−9442                                               xxx−xx−2104




                                NOTICE OF NEED TO FILE PROOF OF CLAIM
                                     DUE TO RECOVERY OF ASSETS


To the Creditors and Parties in Interest:

The initial notice in this case instructed creditors not to file a proof of claim. Assets have since been recovered by the
trustee and creditors who wish to share in distribution of funds must file a proof of claim with the clerk at:


                                        455 John F. Seiberling Federal Building
                                                    US Courthouse
                                                 2 South Main Street
                                                  Akron, OH 44308

                                      Last date to file claims: September 3, 2019


Creditors who do not file a proof of claim on or before the last date to file claims will not share in distribution. A
Proof of Claim is a signed statement describing a creditor's claim. Effective February 1, 2019, the Electronic Proof of
Claim (ePOC) filing program is available on the court's website for all users to file a Proof of Claim, Amended Proof
of Claim, Withdrawal of Claim, and Supplement to a Claim. A login/password is not required to use ePOC. Parties
not represented by an attorney and registered CM/ECF filers may use this service. Access and instructions for ePOC
filing are available in the ECF and Case Info section of the court website at www.ohnb.uscourts.gov. Parties who
would like to file a Proof of Claim manually may obtain a Proof of Claim form (Official Form B410) from the Forms
page of the United States Court's website at www.uscourts.gov, or at any bankruptcy clerk's office.


If you wish to receive proof of receipt by the bankruptcy court, enclose a photocopy of the proof of claim with
                a stamped, self−addressed envelope. There is no fee for filing the proof of claim.

           Any creditor who has previously filed a proof of claim need not file another proof of claim.



Dated: May 27, 2019                                                               For the Court
Form ohnb177                                                              Josiah C. Sell (Acting), Clerk




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